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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                           :
                                                    :
                      v.                            :     NO. 21-mj-099
                                                    :
RILEY WILLIAMS                                      :
                                                    :
                      Defendant.                    :


                 UNOPPOSED EMERGENCY MOTION TO MODIFY
                         CONDITIONS OF RELEASE

       The defendant, Riley Williams, respectfully requests that the Court modify her

conditions of release to allow her to travel to North Carolina with her father and his wife

to visit her father’s sister. The family just learned that the sister is seriously ill and they

are planning to visit her in Durham, North Carolina, on March 31, 2021, and return on

April 3, 2021.

       Ms. Williams was arrested on January 18, 2021, in Pennsylvania on charges

related to the events at the Capitol on January 6. She was released on conditions in that

district and appeared by video before this Court on January 25, 2021. On January 26,

2021, the Court continued her release with a number of conditions, including that her

mother be a third-party custodian.

       Ms. Williams is requesting that from March 31 to April 3, her father be substituted

as the third-party custodian, and that she be allowed to travel with him to North Carolina

and back. All other terms and conditions of the release are to remain in effect, and her

father will ensure that they are met -- he will be provided a copy of them.
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      Counsel for the government, Department of Justice Attorneys Mona Sedky and

Danielle Rosborough, have kindly communicated that they do not oppose this motion.


                                       Respectfully submitted,

                                           /s/
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